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              IN THE UNITED STATES DISTRICT COURT
                                                   for the
                           EASTERN DISTRICT OF PENNSYLVANIA                                       FILED
                                             CIVIL DIVISION
                                                                                                 APR - 6 2018
 BRENDAN BERNICKER                                                                          By_KATE BARKMAN, Cterk
                                                                                               ____oep. Clerk
                             Plaintiff,
                      v.                                      Civil Action No. 2:18-cv-01243-WB
 NATIONAL SECURITY AGENCY
                             Defendant.


             MOTION FOR PERMISSION FOR ELECTRONIC CASE FILING

        As the Plaintiff in the above-captioned matter, I respectfully move the Court for permission

to participate in electronic case filing ("e-filing") in this case. In support of this motion, I affirm that:

        1.   I am willing and able to abide by the requirements of e-filing.

        2.   I understand that once I register for e-filing, I will receive notices and documents only

             by email in this case and not by regular mail.

        3.   Granting this motion will promote efficiency and reduce litigation costs to both parties.

        4.   Personal circumstances, which I will describe in a letter to the Court, will make it

             difficult for me to send and receive physical mail for a period of several weeks.


Dated: April 6, 2018                                           Respectfully submitted,




                                                               Brendan Bernicker, Plaintiff
                                                               107 Hillside Circle, Villanova PA 19085
                                                               bbernicker@gmail.com
                                                               (610) 203-0293
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Brendan Bemicker
107 Hillside Circle
Villanova, PA 19085
bbemicker@gmail.com
(610) 203-0293
Plaintiff, Pro Se


                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BRENDAN BERNICKER                                    CivilActionNo. 2:18-cv-01243-WB
                         Plaintiff,
                                                     Date: - - - - -
                    v.
                                                     Time: - - - - -
NATIONAL SECURITY AGENCY                             Courtroom: 3-B
                         Defendant.                  Judge: Hon. Wendy Beetlestone


              [PROPOSED] ORDER GRANTING PLAINTIFF'S MOTION
                FOR PERMISSION FOR ELECTRONIC CASE FILING


       The Court has considered Plaintiffs Motion for Permission for Electronic Case Filing.

Finding that good cause exists, the Motion is GRANTED.



       IT IS SO ORDERED.


       DATED: - - - - -
                                                         WENDY BEETLESTONE, J.
             Case 2:18-cv-01243-WB Document 3 Filed 04/06/18 Page 3 of 3



             IN THE UNITED STATES DISTRICT COURT
                                                 for the
                          EASTERN DISTRICT OF PENNSYLVANIA

                                           CIVIL DIVISION


 BRENDAN BERNICKER
                            Plaintiff,
                     v.                                    Civil Action No. 2:18-cv-01243-WB
 NATIONAL SECURITY AGENCY
                            Defendant.


                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 9, 2018, a copy of Plaintiff's Motion to Participate in Electronic

Case Filing will be mailed via certified mail to the following addresses along with service of process:

        1.   General Counsel, National Security Agency, 9800 Savage Road, Fort George G. Meade,

             MD 20755-6000

       2.    Civil-Process Clerk, U.S. Attorney's Office, 615 Chestnut Street, Suite 1250,

             Philadelphia, PA 19106

       3.    Jefferson B. Sessions III, Attorney General of the United States, U.S. Department of

             Justice, 950 Pennsylvania Avenue, NW Washington, DC 20530-0001


Dated: April 6, 2018                                        Respectfully submitted,




                                                            Brendan Bernicker, Plaintiff
                                                            107 Hillside Circle, Villanova PA 19085
                                                            bbernicker@gmail.com
                                                            (610) 203-0293
